                          Case 2:10-cv-08888-CJB-JCW Document 66487 Filed 04/20/11 Page 1 of 3
                                           IN RE: OIL SPILL by "Deepwater Horizon"
                                                 )IRECT FILING SHORT FORM1
                               Authorized by Or ::Ierof the Court, Civil Action NO.1 0 md 2179 Rec. Doc. 982
                (Copies        of said Order he ving also been filed in Civil Actions No. 10-8888 and 10-2771)
MDL2179                                                                SECTION:J                                                 JUDGE CARL BARBIER

       CLAIM IN L1MITATION-JO NDER IN MASTER ANSWER-INTERVENTION     AND JOINDER
                IN MASTER con ~PLAINTS - PLAINTIFF/CLAIMANT PROFILE FORM
    By submitting this document, I am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
    al., No. 10-2771; adopt and incorpo ate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
    Asset Leasing Gmbh, et al., in No. 10-2771; andlor intervene into, join and otherwise adopt the Master Complaint
    [Rec. Doc. 879] for private econolT ic losses ("B1 Bundle") filed in MDL No. 2179 (10 md 2179); andlor intervene
    into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries ("B3 Bundle")
    filed in MDL No. 2179 (10 md 2179).


     Last Name                                          First Name                                      Middle Name/Maiden                         Suffix
     Madigan                                            Cody                                         Alan

     Phone Number                                                                      E-Mail Address
     805-598-8345                                                                      Cody.a.madigan@gmail.com
    Address                                                                          City / State / Zip
     809 Espasie Rd.                                                                Youngsville,          LA 70592

     INDIVIDUAL       CLAIM                                                            BUSINESS CLAIM
     Employer Name                                                                     Business Name
    Aqueos Subsea
     Job Title / Description                                                        Type of Business
     Commercial           DiverlTender
    Address                                                                         Address
     101 Millstone Rd.
     City / State / Zip                                                              City / State / Zip
     Broussard,           LA 70518
     Last 4 digits of your Social Security Number                                    Last 4 digits of your Tax ID Number
     1390

    Attorney Name                                                                    Firm Name
    PAUL STERBCOW                                                                    LEWIS, KULLMAN,         STERBCOW         & ABRAMSON
    Address                                                                         City / State / Zip
    601 POYDRAS ST., SUITE 2615                                                     NEW ORLEANS/LA/70130

     Phone Number                                                                   E-Mail Address
     504-588-1500                                                                   STERBCOW@LKSALAW.COM



    Claim filed with BP?             YES              ~O                            Claim Filed with GCCF?:            YES              NO~
                                                             ~
     If yes, BP Claim No.:                                                           If yes, Claimant Identification   No.:   In process of submitting

    Claim Type (Please check all that apply):
                   Damage or destruction to real or personal property                          Fear of Future Injury and/or Medical Monitoring
               !8l Earnings/Profit Loss                                                        Loss of Subsistence use of Natural Resources
                   Personal Injury/Death                                                       Removal and/or clean-up costs
                                                                                              Other:




1 This form   should be filed With the U.S. District ( ourt for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action
No. 10-8888. While this Direct Filing Short Form is tc be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, CA. No. 10-2771 and Rec. Doc. 982 in
MOL 2179), the filing of this form in CA. No. 10-888~ shall be deemed to be simultaneously filed in CA. 10-2771 and MOL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filin of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.
                                                                                   1
          The filing of this Direct Filing Short F. rm shall also seIVe in lieu of the requirement             of a Plaintiff to file a Plaintiff Profile Form.
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Brief Description:

1.     For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
       involving real estate/property, inc ude the property location, type of property (residential/commercial), and whether physical
       damage occurred. For claims rei ting to fishing of any type, include the type and location of fishing grounds at issue.


       As a Commercial Diver se                icina the offshore oil industrY in the Gulf of Mexico. Plaintiff/Claimant

       has suffered and~ continues to suffer severe
      ~=_~~~==                                =-==:z:.= economic
                                                         = =-=:==
                                                                  losses as a direct result of the Defendants'
                                                                                                   ~


       actions that caused the oil             pill.




 3.     For personal injury claims, descri e the injury, how and when it was sustained, and identify all health care providers and
        employers 2008 to present and c mplete authorization forms for each.




 4.     For post-explosion claims relate to clean-up or removal, include your role in the clean-up activities, the name of your
        employer, and where you were w rking.




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     0   1.   Commercial fisherman, shri per, crabber, or oysterman, or the owner and operator of a business involving fishing,
              shrimping, crabbing or oyste ng.

     0   2.   Seafood processor, distribut r, retail and seafood market, or restaurant owner and operator, or an employee thereof.

     0   3.   Recreational business owne , operator or worker, including a recreational fishing business, commercial guide service, or
              charter fishing business who earn their living through the use of the Gulf of Mexico.

         4.   Commercial business, busi ess owner, operator or worker, including commercial divers, offshore oilfield service,
              repair and supply, real estat agents, and supply companies, or an employee thereof.

     0   5.   Recreational sport fisherme ,recreational diver, beachgoer, or recreational boater.

     0   6.   Plant and dock worker, inclu ing commercial seafood plant worker, longshoreman, or ferry operator.

     0   7.     Owner, lessor, or lessee of eal property alleged to be damaged, harmed or impacted, physically or economically, including
              lessees of oyster beds.

     o 8.     Hotel owner and operator, v cation rental owner and agent, or all those who earn their living from the tourism industry.

     o 9.     Bank, financial institution, or retail business that suffered losses as a result of the spill.

     o 10. Person who utilizes natural resources for subsistence.
     o 11. Other.
  Post-Explosion Personallniurv.              edical Monitorina. and Property Damaae Related to Cleanup (Bundle B3)
     o 1.     Boat captain or crew involv      in the Vessels of Opportunity program.

     o 2.     Worker involved in deconta     inating vessels that came into contact with oil and/or chemical dispersants.

     o 3.     Vessel captain or crew who as not involved in the Vessels of Opportunity program but who were exposed to harmful
               chemicals, odors and emissi ns during post-explosion clean-up activities.

     o 4.     Clean-up worker or beach p rsonnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

     o 5.     Resident who lives or works in close proximity to coastal waters.
     o 6.     o the    r:



Both BP and the Gulf Coast Claims Facility ("GCCF") are hereby authorized to release to the Defendants in MDL
2179 all information and documents        ubmitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to suc information being treated as "Confidential Access Restricted" under the Order
Protecting Confidentiality (Pre-Trial     rder No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applica e) filing this form and PSC through Plaintiff Liaison Counsel.




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    The filing of this Direct Filing Short F< rm shall also serve in lieu of the requirement    of a Plaintiff   to file a Plaintiff   Profile Form.
